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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


U.S. DOMINION, INC., et al.,

              Plaintiffs,

      v.                                    Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW INC., et al.,


              Defendants.




U.S. DOMINION, INC., et al.,

              Plaintiffs,

      v.                                    Civil Action No. 1:21-cv-213 (CJN)

GIULIANI,



              Defendant.



U.S. DOMINION, INC., et al.,

              Plaintiffs,

      v.                                    Civil Action No. 1:21-cv-40 (CJN)

POWELL, et al.,


              Defendants.
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MY PILLOW,

              Plaintiff,

      v.                                            Civil Action No. 1:21-cv-2294 (CJN)

U.S. DOMINION, INC., et al.,


              Defendants.



LINDELL,

              Plaintiff,

      v.                                            Civil Action No. 1:21-cv-2296 (CJN)

U.S. DOMINION, INC., et al.,


              Defendants.


                                            ORDER
       In light of the Status Conference held on October 25, 2021 and the Joint Status Report,

ECF No. 83, filed in US Dominion, Inc., et al. v. My Pillow, Inc., et al., 21-cv-445, as well the

Motion for Clarification of Stay Order, or in the Alternative, Motion for Extension of Time, ECF

No. 83, filed in Lindell v. US Dominion, Inc., et al, 21-2296, it is hereby ORDERED:

       1. The Defendants in US Dominion, Inc., et al. v. My Pillow, Inc., et al., 21-cv-445, shall

file an answer to the Plaintiffs’ Complaint on or before December 2, 2021;
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       2. The Plaintiffs in both Lindell v. US Dominion, Inc., et al., 21-cv-2296, and My Pillow,

Inc. v. US Dominion, Inc., et al., 21-cv-2294, shall coordinate and refile their affirmative claims

as counterclaims in US Dominion, Inc., et al. v. My Pillow, Inc., et al., 21-cv-445, on or before

December 2, 2021.1 Plaintiffs shall respond to those counterclaims within 21 days of their filing;

and

       3. The Plaintiffs and Defendants in all five of the above-captioned cases shall participate

in discussions about a consolidated discovery schedule.

       For the avoidance of any doubt, unless and until the above-captioned cases are

consolidated, any order applies only to the case or cases in which that order is entered. Thus, for

example, if the Court enters a stay in one case, that does not mean that proceedings are stayed in a

different case. Cf. Plaintiff’s Motion for Clarification of Stay Order, or in the Alternative, Motion

for Extension of Time, filed in Lindell v. US Dominion, Inc., et al, 21-cv-2296. Because this Order

bears the caption of all five of the above-captioned cases, it applies in all five.



       IT IS SO ORDERED.

                                                       ______________________
                                                       CARL J. NICHOLS
                                                       United States District Judge
DATE: November 15, 2021




1
 The Court intends to dismiss Lindell v. US Dominion, Inc., et al., 21-cv-2296, and My Pillow,
Inc. v. US Dominion, Inc., et al., 21-cv-2294, once the affirmative claims have been so filed.
